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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


DON LIPPERT, WILLIAM EARL BASSETT, )
LEWIS RICE, and MILAM MARTIN,      )
                                   )
                  Plaintiffs,      )
                                   )                      No. 10-CV-4603
     v.                            )
                                   )                      Judge Sara L. Ellis
SALVADOR GODINEZ, LOUIS SHICKER,   )                      Magistrate Judge Daniel Martin
PATRICK QUINN, ALPHONSO NORMAN, )
MARTHA MALDONADO, ATHENA           )
ROSSITER, and WEXFORD HEALTH       )
SOURCES, INC.                      )
                                   )
                  Defendants.
                                   )
                                   )
                                   )

                           JOINT STIPULATION OF DISMISSAL

       The parties hereby stipulate to the dismissal without prejudice of Count I against

defendant Wexford Health Sources, Inc., pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), with each party to bear its own costs.

Dated: December 18, 2013                              Respectfully submitted,

                                                      /s/ Benjamin S. Wolf
                                                      One of Plaintiffs’ attorneys

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                                CERTIFICATE OF SERVICE

        I, Benjamin S. Wolf, an attorney, hereby certify that I have caused a true and correct copy
of the foregoing JOINT STIPULATION OF DISMISSAL to be served this 18th day of
December, 2013, upon all counsel in this case via the Court’s electronic filing system.



                                                     /s/ Benjamin S. Wolf
